Case 6:23-cv-00034-NKM Document 14 Filed 11/16/23 Page1lofi Pageid#: 57

AFFIDAVIT OF PROCESS SERVER

United States District Court for the Western District of Virginia

Carrie Nicole Thomas Attorney: NONE

Plaintiff(s), Carrie Nicole Thomas
145 Northvail Dr.
Madison Heights VA 24572

*365664*

VS.

Carlos Del Toro, Secretary, Department of the Navy

WU

Defendant(s).

Case Number: 6:23-cv-00034-NKM

Legal documents received by Same DayProcess Service, Inc. on 10/11/2023 at 10:51 PM to be served upon Carlos
Del Toro, Secretary, Department of the Navy at General Counsel of the Navy, Navy Litigation Office, 720
Kennon St., SE, Bldg 36, RM 233, Washington Navy Yard, DC 20374

I, Annelyse Rivera, swear and affirm that on October 16, 2023 at 12:23 PM, I did the following:

Served Carlos Del Toro, Secretary, Department of the Navy by delivering a conformed copy of the Summons in a
Civil Action; Civil Cover Sheet; Complaint; Exhibits to Renata Witcher as Legal Technician & Authorized
Agent of Carlos Del Toro, Secretary, Department of the Navy at General Counsel of the Navy, Navy Litigation
Office, 720 Kennon St., SE, Bldg 36, RM 233 , Washington Navy Yard, DC 20374.

Description of Person Accepting Service:
Sex: Female Age: 50 Height: 5ft4in-5ft8in Weight: 161-200 Ibs Skin Color: African-American Hair Color: Black

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

Annelyse Rivera Internal Job
Process Server Tan
Same Day Process Service, Inc. an,
1413 K St., NW, 7th Floor ae
Washington DC 20005

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